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` Case 2:04-cv-02698-BBD-dkv Document 15 Filed 04/25/05 Page 1 of 4 Page|[jt$
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IN THE uNlTED sTATES DISTRICT COURT 55 \ 25 sit i.» -i .
FoR tila WESTERN DISTRICT OF TENNESSEE

 

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t.»t.\f:.m‘\, U.;u. l..`i =J‘T.
W.D. {)F" 'f`N, i'-Jll_.u;‘r}HiS
CHRIST]AN NOFFSINGER
Pl?intif‘f,
VS. NO. 04-2698 DV
MOTEL 6 OPERATING L.P.,

MOTEL 6-MEMPHIS, TN #4158
and ECOLAB, INC.

Defendants,

 

CONSENT ORDER ON VOLUNTARY DISMISSAL WITHOUT PREJUDICE

 

Come now the parties, pursuant to FRCP 41 , Who hereby agree that this cause of action
Should be dismissed Without prejudice, it is therefore ORDERED that this cause of action is

dismissed without prejudice to the Plaintiff to the refiling of the same.

WE CONSENT:

@/MQ

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“~is document entered on the docket sheatl
“ F\ule 58 and/or 79(a) FRCP on

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Case 2:04-cv-02698-BBD-dkv Document 15 Filed 04/25/05 Page 4 of 4 Page|D 31

Honorable Bernice Donald
US DISTRICT COURT

